      Case 4:18-cv-00139-AW-MJF Document 420 Filed 01/24/22 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


 DONNY PHILLIPS,

       Plaintiff,

 v.                                            Case No. 4:18-cv-139-AW-MJF

 RICKY DIXON, et al.,

       Defendants.


               NOTICE OF APPEARANCE AS CO-COUNSEL

      James M. Slater of Slater Legal PLLC hereby gives notice of his appearance

as co-counsel on behalf of Plaintiff Donny Phillips. The certificate of service for all

pleadings, orders, and other papers in this action should include James M. Slater at

Slater Legal PLLC, 113 S. Monroe Street, Tallahassee, Florida 32301 and

james@slater.legal and eservice@slaterlegal.com.

Dated: January 24, 2022.
                                              Respectfully submitted,
                                              SLATER LEGAL PLLC
                                              By: /s/ James M. Slater
                                                     James M. Slater (FBN 111779)
                                                     113 S. Monroe Street
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                                                     Co-Counsel for Plaintiff
     Case 4:18-cv-00139-AW-MJF Document 420 Filed 01/24/22 Page 2 of 2




                         CERTIFICATE OF SERVICE

      I hereby certify that on January 24, 2022, I electronically filed the foregoing

document with the Clerk by using the CM/ECF system, which will serve a copy on

all counsel of record.

                                             By: /s/ James M. Slater
                                                    James M. Slater




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